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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF
 AMERICA
                                                  CRIMINAL No. 18-CR-10017-GAO

        v.

 JOHN H. NARDOZZI,

        Defendant



                   ASSENTED-TO MOTION TO CONTINUE TRIAL DATE


       The United States of America, by and through the undersigned Assistant United States

Attorney, hereby requests that the trial originally set for May 6, 2019 at 9:00 a.m. be rescheduled

to October 15, 2019 at 9:00 a.m., and that the time in the interim be excluded for Speedy Trial Act

purposes. In support of this motion, the government states that it requests the new trial date and

exclusion of time in the interests of justice and because of various scheduling conflicts of the

parties and the Court.



                                             Respectfully submitted,

                                             ANDREW E. LELLING
                                             United States Attorney



                                      By:    /s/ Evan Gotlob
                                             EVAN GOTLOB
                                             Assistant United States Attorney
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                              RULE 7.1(A)(2) CERTIFICATION

The government has conferred with opposing counsel, who assents to this motion to continue.

                                             By:     /s/ Evan Gotlob
                                                     EVAN GOTLOB
                                                     Assistant United States Attorney



                                CERTIFICATE OF SERVICE


I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF).


                                                     /s/ Evan Gotlob
                                                     EVAN GOTLOB
                                                     Assistant United States Attorney




Date: April 9, 2019




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